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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


MARIJO STALLINGS, et al.,              )
                                       )
       Plaintiffs,                     )
                                       )           CIVIL ACTION NO.
       v.                              )             2:20cv780-MHT
                                       )                  (WO)
DILLON MELVIN,                         )
                                       )
       Defendant.                      )

                                 JUDGMENT

       Pursuant to the stipulation of dismissal (Doc. 51),

it is the ORDER, JUDGMENT, and DECREE of the court that

plaintiffs Alexandra Stallings and Elizabeth Nemecek’s

claims against defendant Dillon Melvin are dismissed

with    prejudice      and     with    costs      taxed    as   paid.    Said

plaintiffs       are    terminated         as     parties.         Plaintiffs

Marijo Stallings and Anthony Stallings’s claims remain

pending.

       The clerk of the court is DIRECTED to enter this

document    on    the    civil        docket      as   a   final    judgment

pursuant    to    Rule    58    of    the       Federal    Rules    of   Civil

Procedure.
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This case is not closed.

DONE, this the 21st day of October, 2021.

                                /s/ Myron H. Thompson
                             UNITED STATES DISTRICT JUDGE
